4:09-cr-03044-RGK-CRZ        Doc # 247     Filed: 06/28/11    Page 1 of 1 - Page ID # 734




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )          4:09CR3044-4
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )          ORDER
JOSH BAKER,                                  )
                                             )
                    Defendant.               )

      IT IS ORDERED that:

      (1)    The government’s request for hearing (filing 238) is granted.

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 232) has been set before the undersigned United States district judge on
Thursday, July 14, 2011, at 11:00 a.m., in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)     At the request of the defendant through his counsel, the defendant will
participate in the hearing by telephone.

      (4)    The Marshal is directed not to return the defendant to the district.

      (5)    The defendant is held to have waived his right to be present.

      Dated June 28, 2011.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
